              Case 2:18-cv-00434-GMS Document 1 Filed 02/07/18 Page 1 of 9



 1   RICHARD E. ZUCKERMAN
     Principal Deputy Assistant Attorney General
 2
     PAUL T. BUTLER (MD Bar No. 9406230037)
 3   Trial Attorney, Tax Division
     U.S. Department of Justice
 4
     P.O. Box 683
 5   Washington, D.C. 20044
     202-514-1170 (v)
 6   202-307-0054 (f)
     Paul.T.Butler@usdoj.gov
 7
     Of Counsel:
 8   ELIZABETH A. STRANGE
     First Assistant United States Attorney
 9
                          IN THE UNITED STATES DISTRICT COURT
10
                               FOR THE DISTRICT OF ARIZONA
11
      UNITED STATES OF AMERICA,           )
12                                        )                 Case No.
              Plaintiff,                  )
13                                        )
              v.                          )                 COMPLAINT
14                                        )
      DIANE A. MASLOWSKI                  )
15                                        )
              Defendant.                  )
16    ____________________________________)
17
            Plaintiff, the United States of America brings this action to collect from the
18
     defendant outstanding civil penalties (31 U.S.C. § 5321(a)(5)), commonly known as
19
     FBAR penalties, which were assessed against Diane A. Maslowski, for her failure to
20
     timely report her financial interest in, and/or her signatory or other authority over, foreign
21
     bank accounts for the 2006, 2007 and 2008 calendar years, as required by 31 U.S.C.
22
     § 5314 and its implementing regulations, having a total balance due to the United States
23

24
                                                                  U.S. DEPARTMENT OF JUSTICE
      Complaint                               1                   Tax Division, Western Region
      (Case No. )                                                 P.O. Box 683
                                                                  Washington, D.C. 20044
                                                                  Telephone: 202-514-1170
                 Case 2:18-cv-00434-GMS Document 1 Filed 02/07/18 Page 2 of 9



 1   of America of $12,410.82 as of February 1, 2018 plus all associated penalties and

 2   interest. In support of this action, the United States alleges as follows:
 3

 4
                                           Jurisdiction and Venue
 5
            1.      This Court has jurisdiction under 28 U.S.C. §§ 1331, 1345, and 1355(a).
 6
            2.      At all times relevant to the matters at issue, Defendant Diane A. Maslowski
 7
                    (“Maslowski”) was a United States citizen and remains a United States
 8
                    citizen.
 9
            3.      Maslowski is currently a resident of Scottsdale, Arizona.
10

11
            4.      Venue is proper under 28 U.S.C. § 1391.

12          5.      The United States of America brings this action pursuant to the

13                  authorization of the Secretary of the Treasury (see 31 U.S.C.

14                  § 3711(g)(4)(C)) and at the direction of the Attorney General of the United

15                  States.
16          6.      This civil action to collect the FBAR Penalty, and the associated penalties
17
                    and interest, is timely under 31 U.S.C. § 5321(b)(2), because it is filed
18
                    within two years of the date on which the 2006 FBAR Penalty, 2007 FBAR
19
                    Penalty, and the 2008 FBAR Penalty were assessed, February 29, 2016.
20

21
             Background Regarding Diane A. Maslowski’s Interests in Foreign Accounts
22
            7.      Maslowski was born Diane A. Van Hyfte in the state of Illinois in 1966 and
23

24
                    married Edmund J. Maslowski (“Edmund”) in 1998.
                                                                  U.S. DEPARTMENT OF JUSTICE
      Complaint                              2                    Tax Division, Western Region
      (Case No. )                                                 P.O. Box 683
                                                                  Washington, D.C. 20044
                                                                  Telephone: 202-514-1170
               Case 2:18-cv-00434-GMS Document 1 Filed 02/07/18 Page 3 of 9



 1        8.       Maslowski divorced Edmund in 2010.

 2        9.       On or about September 1, 1994, Maslowski’s former husband, Edmund,
 3                 opened a “numbered account” with an account number ending in 0563 by
 4
                   signing account opening documents at the Hong Kong office of the Swiss
 5
                   Bank Corporation located in Zurich, Switzerland.
 6
          10.      Amongst the account opening documents signed by Edmund on or about
 7
                   September 1, 1994, were: an account application including instructions to
 8
                   Swiss Bank Corporation to retain at the bank all correspondence related to
 9
                   the account number ending in 0563; a form identifying Edmund as the
10

11
                   beneficial owner of the account ending in 0563; a Charge/Declaration of

12                 Pledge form acknowledging that all disputes related to the account ending

13                 in 0563 would be governed by and decided under Swiss law; and, an

14                 agreement regarding Margins for Forward/Futures Transactions indicating

15                 that the venue for performance of such agreement, and any court
16                 proceedings under the agreement, would be Zurich, Switzerland.
17
          11.      During the years 1997-1998 Swiss Bank Corporation and Union Bank of
18
                   Switzerland merged to become UBS in Zurich, Switzerland and the account
19
                   ending in 0563 (“the UBS account”) continued to be maintained and
20
                   serviced with the same account number by the resulting UBS entity.
21
          12.      On or about September 5, 2000, during the course of her marriage to
22
                   Edmund, Maslowski signed a UBS General Power of Attorney form, which
23

24
                   was also signed by her former husband, which gave her unlimited power of
                                                               U.S. DEPARTMENT OF JUSTICE
     Complaint                             3                   Tax Division, Western Region
     (Case No. )                                               P.O. Box 683
                                                               Washington, D.C. 20044
                                                               Telephone: 202-514-1170
                Case 2:18-cv-00434-GMS Document 1 Filed 02/07/18 Page 4 of 9



 1                     attorney over the UBS account including, but not limited to full signatory

 2                     authority over the account.
 3            13.      Maslowski has never filed an FBAR report disclosing her ownership
 4
                       interest in, nor signatory (or any other) authority over, the UBS account.
 5
              14.      Throughout calendar years 2006, 2007, and 2008 Maslowski was a United
 6
                       States citizen, resided within the United States, and was otherwise subject
 7
                       to the jurisdiction of the United States within the meaning of 31 C.F.R.
 8
                       § 103.241.
 9
              15.      Throughout calendar years 2006, 2007, and 2008 the UBS account was a
10

11
                       bank account in a foreign country.

12            16.      From September of 2000 and throughout calendar year 2008, Maslowski

13                     had signatory authority over, and ownership interests in, the UBS account

14                     within the meaning of 31 C.F.R. § 103.24.

15            17.      From September of 2000 throughout calendar year 2008, Maslowski was
16                     aware of her ownership interest and signatory authority over the UBS
17
                       account.
18

19

20

21   1
       Please note that the Regulations implementing the FBAR statute, 31 USC § 5314, were
22   renumbered effective March 28, 2011 with respect to all reports due for foreign financial
     accounts maintained in calendar year 2010 and later. The updated regulations may be
23   found at 31 CFR §§ 1010.300 et. seq. Prior to renumbering, the regulations effective for
     the years at issue herein were found at 31 C.F.R. § 103.24, 31 C.F.R. § 103.27, and 31
24   C.F.R. § 103.32.
                                                                     U.S. DEPARTMENT OF JUSTICE
         Complaint                             4                     Tax Division, Western Region
         (Case No. )                                                 P.O. Box 683
                                                                     Washington, D.C. 20044
                                                                     Telephone: 202-514-1170
            Case 2:18-cv-00434-GMS Document 1 Filed 02/07/18 Page 5 of 9



 1              Claim for Relief: Judgment for Civil Penalty (31 U.S.C. § 5321(a)(5))

 2        Liability for the Civil Penalty for 2006
 3        18.      The United States incorporates the allegations in paragraphs 1 through 17
 4
                   as if fully set forth herein.
 5
          19.      During calendar year 2006, the aggregate maximum account balance in the
 6
                   UBS account exceeded $900,000.00.
 7
          20.      On all U.S. federal income tax returns filed by Maslowski through 2006,
 8
                   she failed to report any income from the UBS account and on Schedule B
 9
                   of such returns reported that she had no interest in, nor any authority over,
10

11
                   any foreign financial accounts.

12        21.      Maslowski failed to timely file an FBAR for the year 2006 disclosing her

13                 ownership interests and signature authority over the UBS account despite

14                 being required to do so by 31 U.S.C. § 5314 and 31 C.F.R. § 103.27(c).

15

16        Liability for the Civil Penalty for 2007
17
          22.      The United States incorporates the allegations in paragraphs 1 through 21
18
                   as if fully set forth herein.
19
          23.      During calendar year 2007, the aggregate maximum account balance in the
20
                   UBS account exceeded $400,000.00.
21
          24.      On the U.S. federal income tax return filed by Maslowski for 2007, she
22
                   failed to report any income from the UBS account and on Schedule B of
23

24
                                                                 U.S. DEPARTMENT OF JUSTICE
     Complaint                                5                  Tax Division, Western Region
     (Case No. )                                                 P.O. Box 683
                                                                 Washington, D.C. 20044
                                                                 Telephone: 202-514-1170
            Case 2:18-cv-00434-GMS Document 1 Filed 02/07/18 Page 6 of 9



 1                 such return reported that she had no interest in, nor any authority over, any

 2                 foreign financial accounts.
 3        25.      Maslowski failed to timely file an FBAR for the year 2007 disclosing her
 4
                   ownership interest and signature authority over the UBS account despite
 5
                   being required to do so by 31 U.S.C. § 5314 and 31 C.F.R. § 103.27(c).
 6

 7
          Liability for the Civil Penalty for 2008
 8
          26.      The United States incorporates the allegations in paragraphs 1 through 25
 9
                   as if fully set forth herein.
10

11
          27.      During calendar year 2008, the aggregate maximum account balance in the

12                 UBS account exceeded $250,000.00.

13        28.      On the U.S. federal income tax return filed by Maslowski for 2008, she

14                 failed to report any income from the UBS account and on Schedule B of

15                 such return reported that she had no interest in, nor any authority over, any
16                 foreign financial accounts.
17
          29.      Maslowski failed to timely file an FBAR for the year 2008 disclosing her
18
                   ownership interest and signature authority over the UBS account despite
19
                   being required to do so by 31 U.S.C. § 5314 and 31 C.F.R. § 103.27(c).
20

21

22

23

24
                                                                 U.S. DEPARTMENT OF JUSTICE
     Complaint                                6                  Tax Division, Western Region
     (Case No. )                                                 P.O. Box 683
                                                                 Washington, D.C. 20044
                                                                 Telephone: 202-514-1170
            Case 2:18-cv-00434-GMS Document 1 Filed 02/07/18 Page 7 of 9



 1        Assessment and Collection of the Civil Penalties for 2006, 2007, and 2008

 2        30.      On April 18, 2013, January 15, 2014, January 19, 2015, July 6, 2015, and
 3                 November 19, 2015 Maslowski consented, in writing, to extensions of the
 4
                   time within which to assess penalties under 31 U.S.C. § 5321.
 5
          31.      On February 29, 2016, in accordance with 31 U.S.C. § 5321(a)(5)(C)(i), a
 6
                   delegate of the Secretary of the Treasury timely assessed a civil penalty
 7
                   against Maslowski, in the amount of $10,000.00 for each of the years 2006,
 8
                   2007, and 2008 due to the failure of Maslowski to timely and properly
 9
                   disclose the UBS account.
10

11
          32.      A delegate of the Secretary of the Treasury sent Maslowski notice of the

12                 assessment of the 2006, 2007 and 2008 FBAR Penalties and demand for

13                 payment.

14

15        Additional Amounts Due and Owing to the United States
16        33.      The FBAR penalties described in paragraph 31 above were assessed
17
                   pursuant to 31 U.S.C. § 5321(a)(5)(b)(i), which imposes a penalty not to
18
                   exceed $10,000 for each violation of the FBAR filings requirements that is
19
                   not due to a willful violation of 31 U.S.C. § 5321.
20
          34.      Maslowski has not fully paid the outstanding FBAR penalties described in
21
                   paragraph 31.
22
          35.      Pursuant to 31 U.S.C. § 3717(a)(1), the United States is entitled to recover
23

24
                   prejudgment interest accrued on Maslowski’s unpaid penalties. In addition,
                                                                 U.S. DEPARTMENT OF JUSTICE
     Complaint                             7                     Tax Division, Western Region
     (Case No. )                                                 P.O. Box 683
                                                                 Washington, D.C. 20044
                                                                 Telephone: 202-514-1170
             Case 2:18-cv-00434-GMS Document 1 Filed 02/07/18 Page 8 of 9



 1                 pursuant to 31 U.S.C. § 3717(e)(2), the United States is entitled to recover a

 2                 penalty for Maslowski’s failure to pay a lawful debt owed to the United
 3                 States. Furthermore, pursuant to 31 U.S.C. § 3717(e)(1), the United States
 4
                   is entitled to recover charges assessed against Maslowski to cover
 5
                   collection-related costs of processing and handling her outstanding FBAR
 6
                   liabilities.
 7
           36.     As of February 1, 2018, the outstanding balance owed by Maslowski is
 8
                   $12,410.82. This amount includes assessed but unpaid FBAR penalties, as
 9
                   well as accruals pursuant to 31 U.S.C. § 3717 (i.e. prejudgment interest,
10

11
                   failure to pay penalties, and collection-related costs).

12         37.     In addition to the $12,410.82, the United States is entitled to recover the

13                 additional penalty, interest, and any collection-related costs that accrue on

14                 that amount.

15

16   WHEREFORE, the plaintiff United States of America demands that this Court:
17

18
           (a) Enter judgment in favor of the plaintiff United States of America and against
19
           the defendant, for the FBAR penalties assessed against Diane A. Maslowski with
20
           regard to the 2006, 2007, and 2008 reporting periods, in the total amount of
21
           $12,410.82 as of February 1, 2018, as well as associated penalties and interest,
22
           plus statutory accruals until fully paid; and,
23

24
                                                                  U.S. DEPARTMENT OF JUSTICE
     Complaint                              8                     Tax Division, Western Region
     (Case No. )                                                  P.O. Box 683
                                                                  Washington, D.C. 20044
                                                                  Telephone: 202-514-1170
            Case 2:18-cv-00434-GMS Document 1 Filed 02/07/18 Page 9 of 9



 1        (b) Award the United States of America its costs, and such further relief as the

 2        Court deems just and proper.
 3

 4
          Dated: February 7, 2018
 5                                                  Respectfully submitted,

 6                                                  RICHARD E. ZUCKERMAN
                                                    Principal Deputy Assistant Attorney
 7                                                  General

 8                                                  /s/ Paul T. Butler_______________
                                                    PAUL T. BUTLER (MD Bar.
 9                                                  9406230037)
                                                    Trial Attorney, Tax Division
10
                                                    U.S. Department of Justice
11                                                  P.O. Box 683
                                                    Washington, D.C. 20044
12                                                  202-514-1170 (v)
                                                    202-307-0054 (f)
13                                                  Paul.T.Butler@usdoj.gov

14
                                                    Of Counsel:
15                                                  ELIZABETH A. STRANGE
                                                    First Assistant United States Attorney
16

17

18

19

20

21

22

23

24
                                                               U.S. DEPARTMENT OF JUSTICE
     Complaint                           9                     Tax Division, Western Region
     (Case No. )                                               P.O. Box 683
                                                               Washington, D.C. 20044
                                                               Telephone: 202-514-1170
01210345                                    666789
Document
                        Case 2:18-cv-00434-GMS     7711-1
                                                                   1Filed
                                                                             802/07/18
                                                                                    7 Page 1 of 2
                                               !"#$ÿ&"'"#&ÿ$!&"(!)"ÿ)*("ÿ
                                                  $!&"(!)"ÿ*+ÿ'(!,* '
                                                    )-.-/ÿ)0.12ÿ&3114
  5678ÿ:;<=>:<?@ÿABCDDÿE=FG=H>8ÿI?F?H:JJKÿ<=ÿ<6?ÿ>:F;:JÿABCDDÿ:LLH=M?@ÿNKÿ<6?ÿA;@7E7:JÿO=FG?H?FE?ÿ=Gÿ<6?ÿPF7<?@ÿB<:<?8ÿ7FÿB?L<?>N?H
  QRSDTÿ56?ÿ@:<:ÿ78ÿH?U;7H?@ÿG=Hÿ<6?ÿ;8?ÿ=Gÿ<6?ÿOJ?HVÿ=GÿO=;H<ÿG=Hÿ<6?ÿL;HL=8?ÿ=Gÿ7F7<7:<7FIÿ<6?ÿE7M7Jÿ@=EV?<ÿ86??<Tÿ56?ÿ7FG=H>:<7=FÿE=F<:7F?@
  6?H?7FÿF?7<6?HÿH?LJ:E?8ÿF=Hÿ8;LLJ?>?F<8ÿ<6?ÿG7J7FIÿ:F@ÿ8?HM7E?ÿ=GÿLJ?:@7FI8ÿ=Hÿ=<6?HÿL:L?H8ÿ:8ÿH?U;7H?@ÿNKÿJ:WTÿ5678ÿG=H>ÿ78ÿ:;<6=H7X?@ÿG=H
  ;8?ÿ=FJKÿ7Fÿ<6?ÿY78<H7E<ÿ=GÿZH7X=F:T
    "31ÿ[0\]/141^ÿ[0.12ÿ_3114ÿ\`_4ÿa1ÿ]2-b41^ÿ^-21[4/cÿ40ÿd$+ÿeb^ÿf-/1^ÿe_ÿebÿe44e[3\1b4ÿ40ÿ431
                               )0\]/e-b4ÿ02ÿ04-[1ÿ0fÿ(1\0.e/g
   d/e-b4-ffh8ijb-41^ÿ&4e41_ÿ0fÿ'\12-[e                   $1f1b^eb4h8ij$-eb1ÿ'gÿke_/0l_m-
   O=;F<Kÿ=Gÿn?87@?FE?jÿo;<87@?ÿ<6?ÿB<:<?ÿ=GÿZH7X=F: O=;F<Kÿ=Gÿn?87@?FE?jÿp:H7E=L:
   O=;F<Kÿq6?H?ÿOJ:7>ÿr=Hÿn?J7?GÿZH=8?jÿp:H7E=L: ÿ
   ÿ
   sJ:7F<7GGt8ÿZ<<Kh8ij                                    Y?G?F@:F<t8ÿZ<<Kh8ij
   de`/ÿ"-\043cÿu`4/12ÿÿ
   g&gÿ$1]e24\1b4ÿ0fÿv`_4-[1wÿ"exÿ$-.-_-0bÿ
   dg*gÿu0xÿyz{                                            ÿ
   |e_3-b}40bwÿ$)ÿÿ~ÿ
   ~~
   ÿ
  Tÿ:878ÿ=GÿA;H78@7E<7=Fjÿ         gÿg&gÿ0.12b\1b4ÿd/e-b4-ff
  ÿ
  TÿO7<7X?F867Lÿ=GÿsH7FE7L:J
  s:H<7?8ÿ$-.12_-4cÿ)e_1_ÿ*b/c
                            sJ:7F<7GGjC '
                          Y?G?F@:F<jCÿ'
                                      ÿ
  TÿoH7I7Fÿjÿ                       gÿ*2-}-be/ÿd20[11^-b}
  ÿ
  Tÿ:<;H?ÿ=GÿB;7<jÿ                 yÿ*4312
  ÿ
  TO:;8?ÿ=GÿZE<7=Fjÿ                {ÿ&)ÿÿ{~eÿd1be/4-1_ÿf02ÿ+e-/`21ÿ40ÿ(1]024ÿ+021-}bÿ'[[0`b4_
  ÿ
  Tÿn?U;?8<?@ÿ7FÿO=>LJ:7F<
                         OJ:88ÿZE<7=Fj 0
                      Y=JJ:HÿY?>:F@j~wgz~
                        A;HKÿY?>:F@j 0
  Tÿ5678ÿE:8?ÿ-_ÿb04ÿ21/e41^ÿ<=ÿ:F=<6?HÿE:8?T
  &-}be4`21ÿÿ_ÿde`/ÿ"gÿu`4/12
11666789
771187                                                                                       410
01210345                                    666789
Document
                        Case 2:18-cv-00434-GMS     7711-1
                                                                   1Filed
                                                                             802/07/18
                                                                                    7 Page 2 of 2
  ÿÿÿÿÿÿÿÿ!"#$ÿÿ%&'&%()*
  +,ÿ!-.ÿ/,ÿ"012ÿ1-,/34!"1/-ÿ12ÿ1-5/33#5"6ÿ78#!2#ÿ9/ÿ:!5;ÿ"/ÿ"0#ÿ<1=18ÿ</=#3ÿ>0##"ÿ+-7?"ÿ,/34ÿ?21-9ÿ"0#ÿ@ABCÿ:?""/-ÿ1-ÿ./?3ÿ:3/D2#3
  !-Eÿ50!-9#ÿ1"FÿG-5#ÿ5/33#5"6ÿ2!=#ÿ"012ÿ,/34ÿ!2ÿ!ÿH Iÿ!-Eÿ1-58?E#ÿ1"ÿ!2ÿ!-ÿ!""!504#-"ÿ"/ÿ./?3ÿ5!2#ÿ/7#-1-9ÿE/5?4#-"2F
  J#=12#E$ÿ()&%()K




11666789
771187                                                                            010
